Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 1 of 47 PageID 3111




                         UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION


 LUCAS WALL,                                            :
                                                        :
       Plaintiff,                                       :   Case No. 6:21-cv-975-PGB-DCI
                                                        :
 v.                                                     :   District Judge Paul Byron
                                                        :
 CENTERS FOR DISEASE                                    :   Magistrate Judge Daniel Irick
 CONTROL & PREVENTION et al.                            :
                                                        :
       Defendants.                                      :


          PLAINTIFF’S COMBINED BRIEF REPLYING TO FEDERAL
         DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR
       SUMMARY JUDGMENT AS WELL AS OPPOSING THEIR CROSS-
        MOTION FOR SUMMARY JUDGMENT & MOTION TO DISMISS

       COMES NOW plaintiff, pro se, and files this combined brief (authorized by the

 Court at Doc. 105) in response to the Federal Defendants’1 88-page brief2 (Doc.

 125): 1) opposing my Motion for Summary Judgment (amended at Doc. 127-1); 2)

 cross-moving for summary judgment; and 3) moving to dismiss certain counts of

 the Complaint. The Federal Defendants unwisely chose to file dispositive motions

 on all 16 charges3 against them although there are some material facts in dispute.


 1The Federal Defendants named in this case are: Centers for Disease Control & Prevention, De-
 partment of Health & Human Services, Transportation Security Administration, Department of
 Homeland Security, Department of Transportation, and President Joseph Biden.
 2Doc. 125, inclusive of all parts, is 18 pages longer than the 70-page limit agreed to by the parties
 and allowed by the Court. Doc. 105. However, given my desire for the Court to rule on my Motion
 for Summary Judgment as expeditiously as possible, I will not quibble over the Federal Defend-
 ant’s slight procedural violation.
 3   Counts 2, 10, 13, 16, & 20 were dismissed Aug. 9 by agreement of all parties. Doc. 126.


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Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 2 of 47 PageID 3112




     I. REPLY ARGUMENT ON MY MOTION FOR SUMMARY JUDGMENT
       ON COUNTS 1, 4-6, 9, 12, 19, & 22-23, & OPPOSING FEDERAL DE-
      FENDANTS’ MOTIONS TO DISMISS & FOR SUMMARY JUDGMENT

 A. CDC lacks statutory authority for the FTMM & ITTR (Counts 4 & 22).

      The Federal Defendants’ major premise is that the Federal Transportation

 Mask Mandate4 and International Traveler Testing Requirement5 should be up-

 held because “Congress has authorized … the Centers for Disease Control & Pre-

 vention (‘CDC’) to adopt ‘such regulations as in [the agency’s] judgment are nec-

 essary to prevent the introduction, transmission, or spread of communicable dis-

 eases…” under 42 USC § 264(a). Doc. 125 at 1 (emphasis added). To start, it’s im-

 portant to understand the statute authorizes the Department of Health & Human

 Services (“HHS”) secretary only to “make and enforce such regulations…” (em-

 phasis added). The FTMM and ITTR are orders, not regulations. Therefore they

 are not authorized by the statute, regardless of how the Court interprets it. Orders

 have not been promulgated by Administrative Procedure Act (“APA”)-required

 procedures (proposed rulemaking, notice and comment, then final rulemaking).




 4The Federal Transportation Mask Mandate consists of: 1) Executive Order 13998, 86 Fed. Reg.
 7205 (Jan. 26, 2021); 2) Department of Homeland Security Determination 21-130 (Jan. 27, 2021);
 3) Centers for Disease Control & Prevention Order “Requirement for Persons To Wear Masks
 While on Conveyances & at Transportation Hubs,” 86 Fed. Reg. 8,025 (Feb. 3, 2021); 4) Trans-
 portation Security Administration Security Directives 1542-21-01A, 1544-21-02A, and 1582/84-
 21-01A (May 12, 2021); and 5) TSA Emergency Amendment 1546-21-01A (May 12, 2021).
 5 The International Traveler Testing Requirement is the CDC Order "Requirement for Negative
 Pre-Departure COVID–19 Test Result or Documentation of Recovery from COVID–19 for All Air-
 line or Other Aircraft Passengers Arriving into the United States From Any Foreign Country," 86
 FR 7,387 (Jan. 28, 2021). It was mandated by “Executive Order Promoting COVID-19 Safety in
 Domestic & International Travel.” E.O. 13998, 86 Fed. Reg. 7205 (Jan. 26, 2021).


                                               2
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 3 of 47 PageID 3113




 1. The Public Health Service Act doesn’t authorize the FTMM or ITTR.

       Even if § 264(a) authorized HHS to issue orders as opposed to promulgating

 regulations, the government’s argument about its scope ignores that six federal

 courts6 have disagreed with CDC’s interpretation of the Public Health Service Act

 (“PHSA”). And the only court to tentatively concur with CDC’s position7 was essen-

 tially overturned by the Supreme Court.8 “[T]he Supreme Court’s recent decision

 in this case strongly suggests that the CDC is unlikely to succeed on the merits.”

 Alabama Ass’n of Realtors, No. 20-cv-3377 (D.D.C. Aug. 13, 2021). The 11th Circuit

 also strongly signaled it disagrees with CDC’s broad reading of § 264(a).9 “[A]n

 administrative agency’s power to regulate in the public interest must always be

 grounded in a valid grant of authority from Congress. … Courts must be guided by

 a degree of common sense as to the manner in which Congress is likely to delegate

 a policy decision of such economic and political magnitude to an administrative

 agency.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 151 (2000).

       This Court two months ago declared CDC’s interpretation of § 264(a) dead

 wrong, using strong language to condemn the agency for acting unlawfully:



 6Tiger Lily v. HUD, No. 2:20-cv-2692, 2021 WL 1171887 (W.D. Tenn. Mar. 15, 2021); Tiger Lily
 v. HUD, No. No. 21-5256 (6th Cir. July 23, 2021); Alabama Ass’n of Realtors v. HHS, No. 20-cv-
 3377 (D.D.C. May 5, 2021); Skyworks v. CDC, No. 5:20-cv-2407 (N.D. Ohio March 10, 2021);
 Terkel v. CDC, No. 6:20-cv-564, 2021 WL 742877 (E.D. T Feb. 25, 2021); and State of Florida v.
 Becerra, No. 8:21-cv-839-SDM-AAS (M.D. Fla. June 18, 2021).
 7   Alabama Ass’n of Realtors v. HHS, No. 21-5093 (D.C. Cir. June 2, 2021)
 8   Alabama Ass’n of Realtors v. HHS, No. 20A169 (June 29, 2021)
 9   Brown v. HHS, No. 20-14210 (11th Cir. July 14, 2021)


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Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 4 of 47 PageID 3114




       “[N]ever has CDC implemented measures as extensive, disabling, and ex-
       clusive as those under review in this action. However, in this action CDC
       claims a startlingly magnified power. … CDC’s assertion of a formidable and
       unprecedented authority warrants a healthy dose of skepticism. … Both text
       and history confirm that the conditional sailing order exceeds the authority
       granted to CDC by Section 264(a). And if Section 264 fails to confer the stat-
       utory authority for the conditional sailing order, the regulations implement-
       ing Section 264 can grant no additional authority. State of Florida v.
       Becerra, No. 8:21-cv-839-SDM-AAS (M.D. Fla. June 18, 2021).

    The 11th Circuit just addressed CDC’s powers under § 264(a). Although not a

 merits decision, the dissenting judge on a 2-1 panel concluded CDC exceeded its

 authority by ordering a nationwide Eviction Moratorium due to COVID-19. And

 the two judges who denied a preliminary injunction wrote: “We have doubts about

 the district court’s ruling on the first factor: whether the plaintiffs are likely to suc-

 ceed on the merits. ... the second sentence of § 264(a) appears to clarify any ambi-

 guity about the scope of the CDC’s power under the first.” Brown v. HHS, Doc. 109.

       “The judiciary is the final authority on issues of statutory construction and
       must reject administrative constructions which are contrary to clear con-
       gressional intent. If a court, employing traditional tools of statutory con-
       struction, ascertains that Congress had an intention on the precise question
       at issue, that intention is the law and must be given effect.” Chevron v. Nat-
       ural Resources Defense Council, 467 U.S. 837 (1984).

    The Federal Defendants and I agree that “Congress has directly spoken to this

 precise question at issue. … Here, only Chevron’s first step is necessary…” Doc. 125

 at 28. Congress has never enacted a law authorizing a national mask mandate or

 international testing requirement. The PHSA confers no such authority. Therefore,

 the FTMM and ITTR are ultra vires. The Court need not given any deference to the

 agencies’ interpretation. It’s laughable for the Federal Defendants to claim that

 “conventional sanitation measures” include “masking.” Id. There is no evidence


                                             4
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 5 of 47 PageID 3115




 that any federal agency has ever in the history of this nation required masking in

 any scenario. And maskwearing certainly does not comport to the statute’s allow-

 ance for CDC to require the “sanitation … of animals or articles found to be so in-

 fected or contaminated as to be sources of dangerous infection to human beings.”

 42 USC § 264(a). Wearing a mask does not reduce the transmission of viral parti-

 cles (Index at Ex. 103) and the statute directs that any “sanitation” be directed at

 “animals or articles,” not the faces of human beings. The use of the exact words

 “human beings” in the same sentence of § 264(a) conclusively shows Congress did

 not conceive the word “animals” as including humans. Plus “sanitation” measures

 may be directed solely to things “found to be so infected or contaminated…,” not

 at every single person (the vast majority of which do not have coronavirus).

    Likewise the government’s ITTR argument fails because it is an order, not a

 regulation; and § 264(a) authorizes “inspection … of animals or articles found to

 be so infected or contaminated as to be sources of dangerous infection to human

 beings.” Humans are not animals or articles, and the testing is directed at all in-

 ternational air passengers, not those “found to be so infected or contaminated”

 with a disease. Even if the statute did authorize such “inspection,” the government

 admits it would only be allowed for “arriving passengers,” not those air travelers

 departing foreign nations. Doc. 125 at 54. And I do directly challenge 42 CFR §

 71.32(b) as again it applies only to arriving transportation carriers.

       “[§ 264(a)] does not grant the CDC the power it claims. … [T]he first sen-
       tence grants the Secretary rulemaking authority. But that authority is not as
       capacious as the government contends. When we interpret statutes, we
       must give effect to each clause and word. … Plainly, the second sentence


                                            5
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 6 of 47 PageID 3116




        narrows the scope of the first. … There is no clear expression of congres-
        sional intent in § 264 to convey such an expansive grant of agency power,
        and we will not infer one. … [CDC’s] interpretation is both textually implau-
        sible and constitutionally dubious.” Tiger Lily v. HUD, No. 21-5256 (6th
        Cir. July 23, 2021).

      All courts that have reviewed CDC’s pandemic policies promulgated under §

 264(a) (including this Court) have reached the same conclusion I urge here, disa-

 greeing with the Federal Defendants’ argument that the specific measures CDC

 may take enumerated in § 264(a) “are illustrative, not exhaustive.” Doc. 125 at 29.

 The Congressional Research Service (“CRS”) advised the House and Senate that

 “mask wearing is arguably dissimilar to the specific measures listed in” § 264(a).

 Ex. 159. In the context of cruiseships, this Court agreed.

        “[T]he [PHSA] codifies the limited regulatory power typical of preventing
        diseases caused by a discrete item or a person at a major port of entry. …
        The text of the [PHSA] lends support to a narrower quarantine power for
        CDC. … The second sentence of Section 264(a) discloses, illustrates, exem-
        plifies, and limits to measures similar in scope and character the measures
        contemplated and authorized by Congress when enacting the statute. Yates
        v. United States, 574 U.S. 528, 546 (2015) (applying specific statutory terms
        to cabin the meaning of a broad statutory term).” State of Florida.

      The government’s claim that “cases caused by the Delta variant of COVID-19

 are surging” (Doc. 125 at 2) is irrelevant to the Court’s determination that CDC

 exceeded its statutory authority. If anything, this “surge” proves the FTMM and

 ITTR are failed policies.10 If masks and testing are effective, then why do we read


 10Defendant CDC’s claim that it has “unquestionable public-health expertise” (Doc. 125 at 34) is
 dubious. CDC has been under constant attack by numerous scientists, doctors, politicians, and
 the general public for its terrible decisionmaking regarding COVID-19 that has allowed the pan-
 demic to claim more than a half-million American lives. “18 months of ever-changing pandemic
 messaging have left Americans skeptical of public health advice.” Ex. 184.
     I could flood the Court with thousands of documents and articles wherein CDC’s supposed
 “expertise” is severely questioned. But it’s sufficient to refer it to the 115 scientific studies and
 medical articles I’ve submitted into evidence indexed at Ex. 103 plus Exs. 15 & 122.


                                                  6
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 7 of 47 PageID 3117




 that the U.S. “could soon see more than 200,000 new cases of COVID-19 every

 day…”? Ex. 183. This Court shall not allow the government’s fearmongering. Alt-

 hough coronavirus cases are rising, the most important metric (deaths) continues

 falling to new lows. Ex. 185. Congress has not passed any law authorizing the

 FTMM or ITTR, and CDC lacks any statutory authority to issue these orders, there-

 fore the Court need not consider what the current state of the pandemic is.

    Furthermore, 42 USC §§ 264(b)-(d) grants CDC power “for the apprehension,

 detention, and conditional release of individuals to prevent the introduction or

 spread of communicable diseases.” Ex. 161. No authority exists for CDC to require

 masks or anything beyond temporary detention. CDC’s prior use of § 264 confirms

 this: “Until the COVID-19 pandemic, the CDC primarily invoked its Section [264]

 authority to issue and refine regulations relating to quarantine and isolation,” ac-

 cording to CRS. Id. “The Public Health Service Act grants the CDC powers to detain

 and medically examine potentially infected persons arriving into the United States

 and traveling between states, but this authority is unlikely to extend to regulatory

 actions such as requiring masks.” Ex. 172.


 2. Congress has not enacted a mask mandate or testing requirement.

    If Congress believes it needs to pass a mask mandate or testing requirement, it

 could do so (although such actions would still be subject to legal challenges). Even

 though advised by CRS it should consider it, Congress has not taken any action

 during the pandemic to make laws mandating masks or requiring international



                                          7
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 8 of 47 PageID 3118




 flyers get tested for COVID-19. “[T]he scope of federal agencies’ existing statutory

 authority to mandate masks … is an open legal question. If Congress wishes to

 eliminate uncertainty over the scope of federal agencies’ statutory authority to im-

 plement and enforce public health measures in the transportation sector, Congress

 could consider legislation that expressly authorizes or precludes such measures.”

 Ex. 159. A “federal public health order may implicate major economic or political

 questions … Congress may need to act legislatively, within constitutional limits, to

 supply the necessary additional authority.” Ex. 161.

    Congress has not “prudently delegated broad authority to the CDC to take rea-

 sonable public-health measures to prevent the spread of communicable disease.”

 Doc. 125 at 2. Even if Congress did, it “would run into both constitutional and prac-

 tical hurdles.” Ex. 4. Congress has vigorously debated mask mandates but failed to

 pass a single one. In fact, many lawmakers have pushed to terminate the CDC man-

 date. Doc. 1 at ¶¶ 339-353; Docs. 83-8, -10, & -12; Exs. 108-113. There’s a huge

 dispute in the House of Representatives over its mask mandate, which has led to

 litigation. Ex. 114. The Supreme Court has ruled that on questions of “deep eco-

 nomic and political significance,” an agency’s interpretation of a statute must be

 scrutinized. “Because the statute did not expressly delegate that decision to the

 agency, the Court gave no deference to the agency’s interpretation and analyzed

 the statute independently of the agency’s position.” Ex. 158, cf. King v. Burwell,

 135 S. Ct. 2480, 2489 (2015). “CDC claims authority to impose nationwide any

 measure, unrestrained by the second sentence of Section 264(a), to reduce to ‘zero’


                                          8
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 9 of 47 PageID 3119




 the risk of transmission of a disease – all based only on the director’s discretionary

 finding of ‘necessity.’ That is a breathtaking, unprecedented, and acutely and sin-

 gularly authoritarian claim.” State of Florida.


 3. The FTMM and ITTR are motivated by politics unsupported by law.

    The FTMM and ITTR are about politics, not public health. “There appears to be

 no legal authority that would allow a US president to enact a nationwide mask

 mandate.” Ex. 4. Defendant Biden, when campaigning for the presidency last year,

 pledged to impose by fiat a nationwide mask mandate anyway. Ex. 1. “He even said

 in his acceptance speech at the Democratic National Convention that a mask man-

 date would be part of his national strategy to fight … coronavirus…” Ex. 12.

    But Defendant Biden later admitted Sept. 6, 2020, he had no power to do it:

 “[T]here’s a constitutional issue whether the federal government could issue such

 a mandate. I don’t think constitutionally [it] could,” Biden said. Video at

 Ex. 2 (emphasis added); Exs. 6 & 12. “I wouldn't issue a mandate,” Biden

 added, “but I’d plead with [people to cover their faces], I’d carry my mask with me

 everywhere I go…” Ex. 12 (emphasis added); Ex. 163.

    But then Defendant Biden acted in bad faith by signing the FTMM and ITTR

 executive order Jan. 21, 2021, (his second day in office) anyway – just as he

 thumbed his nose at the Constitution and the Judicial Branch earlier this month in

 allowing Defendant CDC to extend the Eviction Moratorium even though the

 Supreme Court ruled it would have to be authorized by new congressional



                                           9
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 10 of 47 PageID 3120




  legislation11 – and the president himself said numerous times publicly that extend-

  ing the moratorium would be illegal.

        “Until he backtracked in September, Biden had been promising that he would

  ‘do everything possible’ from ‘an executive standpoint’ to ‘make it required that

  people had to wear masks in public.’” Ex. 5. Legal scholars, CRS, and a former

  CDC director agree with my argument that the PHSA “does not give the CDC much

  power beyond quarantining infected individuals.” Ex. 3. “This authority is unlikely

  to extend to regulatory actions such as requiring masks,” they wrote. Id. Others

  said: “NFIB v. Sebelius would not allow the federal government to require people

  to put on a mask.” Ex. 7.

        The Federal Defendants’ bad-faith actions in imposing the FTMM and ITTR

  have resulted in devastating consequences for the tens of millions of Americans

  such as myself who medically can’t – or simply don’t want to – cover our faces and

  refuse to pay for an unnecessary and illegal COVID-19 test12 prior to flying home.

  The ITTR violates international law: “No one shall be arbitrarily deprived of the

  right to enter his own country.” International Covenant on Civil & Political Rights

  Art. 12 § 4, Treaty Doc. 95-20 (ratified by the Senate April 2, 1992). Ex. 166.


  4. The FTMM and ITTR are not necessary or based on science.

        To sustain the government’s interpretation, the Court would have to first find


  11   Alabama Ass’n of Realtors v. HHS, No. 20A169 (June 29, 2021)

   The cost of the test is irrelevant. Even if the test cost a penny, if it’s not authorized by law, it still
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  must be vacated. Many COVID-19 tests cost upward of $150-200 in various countries.


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Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 11 of 47 PageID 3121




  that an “order” is “regulation,” then agree with Defendant HHS secretary’s deter-

  mination that the FTMM is “necessary.” 42 USC § 264(a). But the scientific evi-

  dence shows otherwise: Masks do nothing to prevent coronavirus spread but harm

  human health. See discussion in the Complaint, Doc. 1 at ¶¶ 513-855; see also the

  115 scientific studies and medical articles I’ve submitted indexed at Ex. 103. The

  FTMM and ITTR are not “necessary,” “reasonable,” or “science-based.” “[O]rder-

  ing masks to stop Covid-19 is like putting up chain-link fencing to keep out mos-

  quitos.” Ridgeway Properties v. Beshear, No. 20-CI-678 (Ky. Cir. June 8, 2021);

  Ex. 216.

     Canadian arbitrators found twice in favor of the Ontario Nurses Association,

  which challenged policies at various hospitals requiring certain staff wear masks.

  In lengthy decisions, both concluded science doesn’t support forced masking.

  “ONA has established, on its own evidence and through the admissions of the [hos-

  pital] experts in cross-examination, that there is scant scientific evidence … of the

  use of masks in reducing the transmission of influenza virus to patients.” 2015 Can-

  LII 55,643 (ON LA); Ex. 175. “I also find that the weight of scientific evidence said

  to support the [Vaccine or Mask] Policy on patient safety grounds is insufficient to

  warrant the imposition of a mask-wearing requirement for up to six months every

  year.” 2018 CanLII 82,519 (ON LA); Ex. 176.

     The only thing “necessary” about HHS secretary’s finding was that he was

  forced to do it because his boss, Defendant Biden, needed to fulfill a campaign

  promise. CDC itself admits a mask does “NOT provide the wearer with a reliable


                                           11
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 12 of 47 PageID 3122




  level of protection from inhaling smaller airborne particles and is not considered

  respiratory protection.” Ex. 124. A top CDC official acknowledged “we mask be-

  cause it's the way we take care and express our concern for each other” – not be-

  cause masks stop the spread of COVID-19. Ex. 125.

     The FTMM and ITTR are not “comparatively minor imposition[s]” – they have

  stopped tens of millions of Americans including myself from using any form of

  public transportation since Feb. 1. Justice Kavanaugh cited this case in his June 29

  concurring opinion on the eviction moratorium in ruling that CDC lacks the au-

  thority it claims under 42 USC § 264(a):

        “EPA’s interpretation is also unreasonable because it would bring about an
        enormous and transformative expansion in EPA’s regulatory authority
        without clear congressional authorization. When an agency claims to dis-
        cover in a long-extant statute an unheralded power to regulate a significant
        portion of the American economy, we typically greet its announcement with
        a measure of skepticism. We expect Congress to speak clearly if it wishes to
        assign to an agency decisions of vast economic and political significance. …
        An agency has no power to tailor legislation to bureaucratic policy goals by
        rewriting unambiguous statutory terms. … We reaffirm the core adminis-
        trative-law principle that an agency may not rewrite clear statutory terms to
        suit its own sense of how the statute should operate.” Utility Air Regulatory
        Group v. EPA, 573 U.S. 302 (citations and quotation marks omitted).


  5. There’s no regulatory authority for the FTMM or ITTR.

     Regulations cited by the Federal Defendants don’t help their case at all. When

  “the measures taken by health authorities of any State … are insufficient to prevent

  the spread of any of the communicable diseases … [the CDC director] may take

  such measures to prevent such spread of the diseases … including … sanitation …

  of animals or articles believed to be sources of infection.” 42 CFR § 70.2. First, the



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Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 13 of 47 PageID 3123




  director did not issue a determination that measures taken by the health authori-

  ties of any specific state are insufficient. Also, like the statute, the regulation only

  allows sanitation “of animals or articles,” not measures such as forced masking and

  testing directed at human beings.

     42 CFR § 71.31(b) likewise provides no authority for the FTMM or ITTR. This

  provision states the CDC director “may require detention of a carrier until the com-

  pletion of the measures outlined in this part that are necessary to prevent the in-

  troduction or spread of a communicable disease.” This applies after a plane or ship

  arrives in the United States. It does not authorize masking during the trip nor pre-

  departure virus testing. The government also points to 42 CFR § 71.32(b), which

  allows CDC’s director when he/she “has reason to believe that any arriving car-

  rier or article or thing on board the carrier is or may be infected or contami-

  nated with a communicable disease, he/she may require detention, disinfection,

  disinfestation, fumigation, or other related measures…” (emphasis added). A hu-

  man being is not a transportation “carrier” nor an “article or thing.” And the reg

  only applies to an arriving transportation carrier. No authorization for masking or

  pre-departure testing can be found here. The title of this subpart confirms my con-

  tentions: “42 CFR Subpart D – Health Measures at U.S. Ports: Communicable Dis-

  eases.” The regs apply only upon arrival at U.S. ports of entry, not to pre-departure

  testing or in-transit masking. Finally, the other three regs cited (42 CFR §§ 70.3,

  70.6, and 70.12) only apply to “A person who has a communicable disease,” not

  every single person traveling on any form of public transportation.


                                            13
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 14 of 47 PageID 3124




  B. Even if CDC had the statutory and/or regulatory authority it claims
  to impose the FTMM and ITTR, the orders would be an unconstitu-
  tional delegation of legislative power (Counts 5 & 23).

     The way Defendants HHS and CDC interpret their authority under 42 USC §

  264(a), they could impose any policy upon all Americans that they deem “neces-

  sary” to protect public health. That is obviously not “an intelligible principle” Con-

  gress has given the Executive Branch. Hence if the Court somehow agrees with the

  government’s reading of the PHSA (which no federal court has done so far during

  the pandemic), it would be an unconstitutional improper delegation of legislative

  power. “The Supreme Court has interpreted this constitutional requirement, under

  the nondelegation doctrine, as generally prohibiting Congress from delegating its

  legislative power to another branch,” according to CRS. Ex. 161, cf. Mistretta v.

  United States, 488 U.S. 361, 371–72 (1989); see also Gundy v. United States, 139

  S. Ct. 2116, 2123 (2019) (plurality).

         “Were we to recognize the authority claimed by EPA in the Tailoring Rule,
        we would deal a severe blow to the Constitution’s separation of powers. Un-
        der our system of government, Congress makes laws and the President, act-
        ing at times through agencies like EPA, faithfully executes them. The power
        of executing the laws necessarily includes both authority and responsibility
        to resolve some questions left open by Congress that arise during the law’s
        administration. But it does not include a power to revise clear statutory
        terms that turn out not to work in practice. … We are aware of no principle
        of administrative law that would allow an agency to rewrite such a clear stat-
        utory term, and we shudder to contemplate the effect that such a principle
        would have on democratic governance.” Utility Air Regulatory Group (ci-
        tations and quotation marks omitted).

     This Court recently spoke on this precise issue:

        “This practically unbounded interpretation causes separation-of-powers
        problems, discussed in greater depth below, and naturally stirs suspicion
        about the constitutionality of Section 264(a). … Forbidding that sort of del-



                                             14
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 15 of 47 PageID 3125




        egation seems the least that is required by, and the least that is unmistaka-
        bly implicit in, the Constitution’s bestowing the entire legislative power on
        the legislative branch. … Unaccountable administrative law, unbounded by
        ascertainable directives from the legislative branch, is not the product of an
        ascendant and robust constitutional republic.” State of Florida.

     So have other courts:

        “[T]o put extra icing on a cake already frosted, the government’s interpre-
        tation of § 264(a) could raise a nondelegation problem. Under that inter-
        pretation, the CDC can do anything it can conceive of to prevent the spread
        of disease. That reading would grant the CDC director near-dictatorial
        power for the duration of the pandemic, with authority to shut down entire
        industries as freely as she could ban evictions. In applying the nondelega-
        tion doctrine, the degree of agency discretion that is acceptable varies ac-
        cording to the scope of the power congressionally conferred. Such unfet-
        tered power would likely require greater guidance than ‘such regulations as
        in his judgment are necessary to prevent the introduction, transmission, or
        spread of communicable diseases.’” Tiger Lily (6th Cir. July 23, 2021) (ci-
        tations and quotation marks omitted).


  C. The FTMM and ITTR must be vacated for failing to abide by APA’s
  notice-and-comment requirement (Counts 1 & 19).

     The Federal Defendants incorrectly argue the FTMM and ITTR are not subject

  to APA’s notice-and-comment requirements and that there was “good cause to pro-

  ceed without notice and comment given the urgent circumstances… In addition,

  any error was harmless.” Doc. 125 at 46. “Rules that carry the force and effect of

  law are known as legislative rules.” Ex. 157. “Legislative rules have the ‘force and

  effect of law’ and may be promulgated only after public notice and comment. INS

  v. Chadha, 462 U.S. 919, 986…” Nat’l Mining Ass’n v. McCarthy, 758 F.3d 243,

  250 (D.C. Cir. 2014). The FTMM and ITTR carry severe legal consequences includ-

  ing fines and refusal to allow boarding of flights, buses, trains, etc. They are not

  interpretive rules or policy statements that can evade public comment. Ex. 157.



                                             15
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 16 of 47 PageID 3126




     The FTMM and ITTR are not “emergency action[s] taken under the existing

  authority” of the PHSA and its underlying regulations. As this Court explained in

  June, COVID-19 began in December 2019 and was declared a global pandemic in

  March 2020. The Federal Defendants had nearly 11 months to put the FTMM and

  ITTR through APA’s required notice-and-comment procedures, but failed to do so.

  Their inaction and procrastination does not constitute an “emergency.” The only

  “emergency” was the inauguration of a new president, Defendant Biden, who for

  purely political reasons demanded the illegal and unconstitutional policies be put

  into place swiftly without hearing from the public as the APA demands.

        “[T]he conditional sailing order carries identifiable legal consequences,
        such as the prospect of criminal penalties, substantial fines, and suspension
        of sailing. … the conditional sailing order carries the force of law and bears
        all of the qualities of a legislative rule. Accordingly, the conditional sailing
        order’s prospective, generalized application invites the conclusion that the
        order is a ‘rule.’ In plain words, if it reads like a rule, is filed like a rule, is
        treated like a rule, and imposes the consequences of a rule, it’s probably a
        rule. Because the conditional sailing order is a rule, CDC was obligated to
        follow the procedures applying to the promulgation of a rule…” Id.

     Likewise the FTMM and ITTR carry the prospect of severe penalties. Myself and

  tens of millions of other Americans have been banned from using any form of pub-

  lic transportation nationwide. Wall Decl. at Doc. 83-1; Declarations of 33 passen-

  gers and flight attendants indexed at Ex. 187. Any U.S. citizen who refuses to sub-

  mit a negative COVID-19 test before boarding a flight to the United States is

  banned from entering our own country.

        “The conditional sailing order is a rule … The APA therefore obligates CDC
        to treat the conditional sailing order as a rule and to provide notice and
        comment. 5 U.S.C. § 553(b). To satisfy its notice-and-comment obligations




                                                16
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 17 of 47 PageID 3127




        under the APA, ‘an agency must consider and respond to significant com-
        ments received during the period for public comment.’ Perez v. Mortg.
        Bankers Ass’n, 575 U.S. 92, 96 (2015). Therefore, the conditional sailing or-
        der violates the APA…” State of Florida.

     The FTMM and ITTR were not authorized under 42 USC § 264(a) or 42 CFR §

  70.2, 71.31(b), or 71.32(b). Therefore the government’s argument that the policies

  didn’t require notice and comment is far-fetched. Likewise, the government can’t

  claim the “good cause” exemption found in 5 USC § 553(b)(3)(B) because it can’t

  self-create an “emergency” 10½ months into a declared pandemic. Had CDC

  promulgated as regulations the FTMM and ITTR in March 2020 rather than Jan-

  uary 2021, perhaps the Court could have excused the failure to provide notice and

  comment. But the law does not consider public comment for orders imposed nearly

  11 months into a health emergency as “impracticable” or “unnecessary.” This is not

  acting “quickly.” Delay would not have resulted in any “serious harm.” As the gov-

  ernment admits, COVID-19 is again surging out of control despite the FTMM and

  ITTR – proving these policies have failed and were not in the public interest. The

  government’s beg for a “good cause” exception would be more plausible if the pol-

  icies actually worked. Like masks themselves, the evidence is clear: they don’t.

        “Precedent demonstrates how infrequently the exception should receive ac-
        ceptance. See, e.g., Am. Fed’n of Gov’t Emp., AFL-CIO v. Block, 655 F.2d
        1153, 1158 (D.C. Cir. 1981) (‘[A]dministrative agencies should remain con-
        scious that such emergency situations are indeed rare.’); N. Carolina Grow-
        ers’ Ass’n, Inc. v. United Farm Workers, 702 F.3d 755, 767 (4th Cir. 2012)
        (explaining that the circumstances permitting reliance on the ‘good cause’
        exception are exceedingly ‘rare’). … The ‘good cause’ exception, ‘narrowly
        construed and only reluctantly countenanced,’ Mack Trucks, Inc. v. EPA,
        682 F.3d 87, 93 (D.C. Cir. 2012) (quoting Util. Solid Waste Activities Grp.
        v. EPA, 236 F.3d 749, 754 (D.C. Cir. 2001)), excuses the APA’s notice-and-
        comment procedures in an ‘emergency situation.’ Jifry v. FAA, 370 F.3d
        1174, 1179 (D.C. Cir. 2004).” State of Florida.


                                             17
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 18 of 47 PageID 3128




     The Court should ignore the suggestion that “any notice-and-comment error

  was harmless.” Doc. 125 at 47. Tell that to the tens of millions of Americans such

  as myself who are banned from using public transportation or even entering our

  own country because of the FTMM and ITTR. An exception for the ITTR does

  not apply because testing Americans flying home hardly qualifies as a “foreign af-

  fairs function of the United States.” Doc. 125 at 57. It involves no relations with the

  governments of other nations.

     The Federal Defendants falsely state that “Plaintiff never even attempts to ex-

  plain what he would have said during a comment process, let alone how that could

  have made a difference in the outcome…” Id. at 48. I know my Complaint is long,

  but you think the government would have read it before making false allegations:

        “[T]he agency failed to consider numerous problems associated with mask
        wearing including: (1) data showing states without mask mandates suffered
        fewer deaths than states that imposed such requirements; (2) the FTMM is
        out of step with the current policies of numerous private businesses who no
        longer require their customers cover their faces; (3) requiring masks in the
        transportation sector leads to widespread chaos in the skies and on the
        ground, endangering aviation and transit safety; (4) the FTMM unlawfully
        discriminates against travelers such as myself who can’t wear a face cover-
        ing due to a disability; (5) the gargantuan amount of scientific and medical
        evidence showing that masks have proven to be totally ineffective in reduc-
        ing COVID-19 spread and deaths; (6) scientists have known for a long time
        that masks aren’t effective in reducing transmission of respiratory viruses;
        (7) masks pose serious health risks to humans forced to wear them; (8)
        many experts consider forcing kids to wear masks child abuse; (9) masks
        have contributed to a surge in serious crime; (10) masks contribute to the
        huge problem of racism in America; (11) masks are damaging the environ-
        ment; (12) unlike masks, vaccines are extremely effective in reducing
        COVID-19 infections and deaths; (13) people who have recovered from
        COVID-19 have long-lasting immunity; and (14) airplane cabins pose little
        risk for coronavirus spread and there have been few, if any, reports of wide-
        spread coronavirus spread on aircraft. These problems could have come to
        light if Defendant CDC followed the APA’s notice-and-comment require-
        ments prior to ordering the FTMM.” Doc. 1 at ¶ 981.


                                             18
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 19 of 47 PageID 3129




     “[B]ald assertions that the agency does not believe comments would be useful

  cannot create good cause to forgo notice-and-comment procedures.” Action on

  Smoking & Health v. Civil Aeronautics Bd., 713 F.2d 795, 800 (D.C. Cir. 1983); see

  also Nat. Res. Def. Council v. Evans, 316 F.3d 904, 906 (9th Cir. 2003). Finally,

  the Federal Defendants are disingenuous when claiming “a medical exemption for

  those with disabilities who cannot wear a mask safely [] is already provided by the

  [FTMM].” Doc. 125 at 48. As explained in detail throughout the Complaint, the

  mask mandate allows airlines to violate the Air Carrier Access Act (“ACAA”) by

  requiring numerous hurdles for a disabled person to jump through that aren’t al-

  lowed under Defendant Department of Transportation (“DOT”) regulations, mak-

  ing it pretty much impossible for anyone with a medical condition who can’t toler-

  ate wearing a mask to get such an exemption. Declarations indexed at Ex. 187.


  D. The FTMM must be vacated because it violates the 10th Amendment
  (Count 6).

     Defendant CDC is not exercising authority that “has been properly delegated by

  Congress.” Doc. 125 at 66. Even if it were, the FTMM runs afoul of the 10th Amend-

  ment because it applies to noncommercial intrastate transportation and comman-

  deers state employees to enforce a federal order. The mandate also overrules state

  laws prohibiting anyone from wearing a mask in public (to prevent crime). For ex-

  ample, South Carolina, which never imposed a statewide mask mandate, makes it

  illegal for any person over 16 to conceal their identity in public. Ex. 173. Although

  it’s true no state has sued to overturn the FTMM, that doesn’t mean there aren’t


                                           19
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 20 of 47 PageID 3130




  numerous states who oppose it and/or refuse to enforce it.13 In fact, there are pres-

  ently 40 states that don’t enforce a mask mandate. Ex. 107. Of these, only five are

  as extreme as the FTMM in requiring the fully vaccinated don masks.

          “Our reading of the statute’s text accords with the principle that Congress
          does not casually authorize administrative agencies to interpret a statute to
          push the limit of congressional authority. That principle has yet greater
          force when the administrative interpretation alters the federal-state frame-
          work by permitting federal encroachment upon a traditional state power”
          such as public health and intrastate transportation. “Agencies cannot dis-
          cover in a broadly worded statute authority to supersede state … law. In-
          stead, Congress must ‘enact exceedingly clear language if it wishes to signif-
          icantly alter the balance between federal and state power and the power of
          the Government over private property’” such as rideshare cars and privately
          owned buses, trains, ferries, airplanes, etc. Tiger Lily (6th Cir. July 23,
          2021).

       “[P]ublic health powers belong to the states, not the federal government,” said

  Lawrence Gostin, director of Georgetown University’s O'Neill Institute for Na-

  tional & Global Health Law. “The federal government couldn’t implement its own

  mask mandates, nor could it force the states to do it.” Ex. 163. When an “adminis-

  trative interpretation alters the federal-state framework by permitting federal en-

  croachment upon a traditional state power,” there must be “a clear indication that

  Congress intended that result.” Solid Waste Agency of N. Cook Cnty. v. U.S. Army

  Corps of Eng’rs, 531 U.S. 159, 172-73 (2001). “[T]he regulation of health and safety

  matters is primarily, and historically, a matter of local concern. See Rice v. Santa

  Fe Elevator Corp., 331 U.S. at 230.” Hillsborough County v. Automated Medical

  Labs, 471 U.S. 707, 720 (1985).


  13These include Florida (Doc. 1 at Ex. 55), Utah (Id. at Ex. 71), Texas (Id. at Exs. 72-73; Ex. 116),
  Arizona (Doc. 1 at Ex. 74), South Carolina (Id. at Ex. 75), New Hampshire (Ex. 11), South Dakota
  (Ex. 104), North Dakota (Ex. 105), Mississippi (Ex. 106), and Tennessee (Ex. 218).


                                                   20
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 21 of 47 PageID 3131




        “The power to quarantine and take even more stringent measures in the
        name of public health has belonged largely to the states for nearly 200 years.
        In 1824, the Supreme Court drew a dear line in Gibbons v. Ogden between
        the state and federal governments when it came to regulating activities
        within and between states. In a unanimous ruling, then-Chief Justice John
        Marshall cited the 10th Amendment in saying that police powers are largely
        reserved to states for activities within their borders” such as intrastate
        transportation, according to the American Bar Association (“ABA”). Ex. 171.

        “[U]nder the U.S. Constitution’s 10th Amendment and U.S. Supreme Court
        decisions over nearly 200 years, state governments have the primary au-
        thority to control the spread of dangerous diseases within their jurisdic-
        tions. The 10th Amendment, which gives states all powers not specifically
        given to the federal government, allows them the authority to take public
        health emergency actions, such as setting quarantines and business re-
        strictions,” according to ABA. Ex. 168.

     The Federal Defendants try to get around the problem of enforcing a national

  mask mandate by unconstitutionally commandeering state officials such as the

  heads of airport and transit authorities (as well as their subordinates) to require

  face coverings on state-owned transportation conveyances and in state-operated

  transport hubs. The Federal Defendants suggest “the order may incidentally re-

  quire some state employees” to enforce the FTMM. But it’s not “incidental” for

  hundreds of thousands of state workers such as bus drivers, train conductors, air-

  port staff, and police officers to be commandeered to enforce a mask mandate that

  in goes against state law in 40-45 states. Ex. 107. “We have already seen local law

  enforcement be reluctant to enforce state mask orders.” Ex. 162.

        “Under the Constitution, the federal government is limited to specifically
        enumerated powers, which do not include a general authority to protect the
        public from communicable diseases. That responsibility lies primarily with
        the states, which retain a broad ‘police power’ that goes far beyond the au-
        thority vested in the president or Congress. Federalism leaves most deci-
        sions in this area to officials who are more accountable and more familiar
        with local conditions, allows instructive policy experimentation, and avoids
        concentrating power in a national government…” Ex. 5.


                                             21
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 22 of 47 PageID 3132




        The FTMM “covers some transportation that arguably does not involve a
        ‘channel’ or ‘instrumentality’ of interstate commerce. For example, the or-
        der covers cars transporting passengers for hire locally within a state. … The
        Supreme Court has ruled in a number of cases that legislation exceeded this
        aspect of Congress’ Commerce Clause power when Congress relied on ag-
        gregating the effects of noneconomic intrastate activities.” Ex. 159.

     Students riding a school bus and individuals using public transportation such

  as subways to travel short distances within a state for noncommercial purposes do

  not create “a substantial economic effect on interstate commerce” as the govern-

  ment argues. Doc. 125 at 67. Because the FTMM regulates intrastate transportation

  and commandeers state officials, it must be struck down. “Pursuant to the princi-

  ples of federalism, the Supreme Court has interpreted the Tenth Amendment to

  prevent the federal government from commandeering or requiring state officers to

  carry out federal directives. This principle thus prevents Congress from requiring

  states or localities to mandate masks,” according to CRS. Ex. 160.

        “[E]ven if the law could be interpreted as … the United States suggest[s], it
        would still violate the anticommandeering principle … The anticomman-
        deering doctrine may sound arcane, but it is simply the expression of a fun-
        damental structural decision incorporated into the Constitution, i.e., the de-
        cision to withhold from Congress the power to issue orders directly to the
        States.” Murphy v. NCAA, 138 S. Ct. 1461 (2018).

     It is unquestioned the Federal Defendants have issued an order (FTMM) di-

  rectly to states to prohibit anyone from using public transportation without wear-

  ing a mask. Thus, the FTMM unconstitutionally commandeers state officials – es-

  pecially as here where state police officers are ordered by the federal government

  to enforce a federal mandate that violates the mask laws of nearly all the states.




                                             22
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 23 of 47 PageID 3133




  E. The FTMM must be vacated because it violates federal law prohibit-
  ing the mandatory use of any medical device approved under an EUA
  by Defendant HHS’ Food & Drug Administration.

     The government ignores that the FTMM is illegal because it forces Americans

  to use a medical device (face masks), most of which are approved by FDA under

  Emergency Use Authorization (“EUA”). Individuals to whom any EUA product is

  offered must be informed “of the option to accept or refuse administration of

  the product, of the consequences, if any, of refusing administration of the prod-

  uct…” 21 USC § 360bbb-3(e)(1)(A)(ii)(III) (emphasis added). The Federal Defend-

  ants can’t force travelers to use EUA products including masks. CDC may only rec-

  ommend masks (as it has done for the rest of society excluding the transportation

  sector) and advise passengers if they refuse to wear a mask, the consequence might

  be a higher risk for contracting COVID-19. Ex. 75. When courts review the legal

  interpretations of an agency (such as CDC) regarding its compliance with statutes

  it does not administer, “such review can be more stringent: Courts sometimes re-

  view such matters de novo, or without any deference at all to the agency’s interpre-

  tation.” Ex. 158, cf. Freeman v. DirecTV, 457 F.3d 1001, 1004 (9th Cir. 2006).

     There’s good reason for the law prohibiting forced use of EUA medical devices.

  Requirements for EUA products are waived for, among other things, “current good

  manufacturing practice otherwise applicable to the manufacture, processing, pack-

  ing … of products subject to regulation under this chapter…” 21 USC § 360bbb-

  3(e)(3)(A). “Nothing in this section provides the [HHS] Secretary any authority to

  require any person to carry out any activity that becomes lawful pursuant to an


                                          23
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 24 of 47 PageID 3134




  authorization under this section…” 21 USC § 360bbb-3(l). This is consistent with

  HHS regulations requiring that participants in trials of experimental medical de-

  vices must be informed that “participation is voluntary, refusal to participate will

  involve no penalty…” 45 CFR § 46.116(a)(8).

     The law is crystal clear: The Federal Defendants have no authority to require

  any passenger wear a mask authorized under EUA. But most masks being used by

  Americans to comply with the FTMM meet the legal definition of an EUA “eligible

  product” that is “intended for use to prevent … a disease…” 21 USC § 360bbb-3(a).

  FDA regulates most face masks under EUAs. Ex. 26. HHS and FDA state:

        “On April 18, 2020, in response to concerns relating to insufficient supply
        and availability of face masks, [FDA] issued an [EUA] authorizing the use
        of face masks for use by members of the general public… A face mask is a
        device … that covers the user’s nose and mouth and may or may not meet
        fluid barrier or filtration efficiency levels. It includes cloth face coverings as
        a subset. … Face masks are regulated by FDA when they meet the definition
        of a ‘device’ under section 201(h) of the Act. Generally, face masks fall
        within this definition when they are intended for a medical purpose. … Face
        masks are authorized under this EUA when they are intended for use as
        source control, by members of the general public … to cover their noses and
        mouths, in accordance with CDC recommendations, to help prevent the
        spread of SARS-CoV-2 during the COVID-19 pandemic.” Ex. 16.

     The HHS secretary authorized EUAs for COVID-19 countermeasures (85 Fed.

  Reg. 17,335; Ex. 127) including respiratory devices (85 Fed. Reg. 13,907; Ex. 128).

  FDA published the EUA for face masks July 14, 2020. 85 Fed. Reg. 42,410; Ex. 18.

  Another mask EUA was published Nov. 20, 2020. 85 Fed. Reg. 74,352; Ex. 19. HHS

  Secretary Xavier Becerra renewed the public-health emergency for COVID-19 July

  19, 2021, allowing EUAs for masks and other devices to continue. Ex. 129. FDA

  confirms my argument that face masks are worthless. Masks must not be


                                               24
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 25 of 47 PageID 3135




        “labeled in such a manner that would misrepresent the product’s intended
        use; for example, the labeling must not state or imply that the product is
        intended for antimicrobial or antiviral protection or related uses or is for
        use such as infection prevention or reduction… No printed matter, includ-
        ing advertising or promotional materials, relating to the use of the author-
        ized face mask may represent or suggest that such product is safe
        or effective for the prevention or treatment of patients during
        the COVID-19 pandemic.” Ex. 16 (emphasis added).

     “Face masks are not personal protective equipment.” Ex. 17. The instruction

  manual for a 3M N95 respirator mask, which is FDA approved, makes clear its

  wearing still has risks: “Misuse may result in sickness or death. … [It] cannot elim-

  inate the risk of contracting infection, illness, or disease… Individuals with a com-

  promised respiratory system, such as asthma or emphysema, should consult a phy-

  sician and must complete a medical evaluation prior to use.” Ex. 123.

     Despite the lack of data that masks are effective, FDA issued an umbrella EUA

  for 41 types of surgical masks, many of which are used by passengers to comply

  with the FTMM. Ex. 20. Notably five types of masks have been withdrawn from the

  EUA after FDA found them to be defective. Id. FDA has also revoked the EUA for

  respirator masks made in China for being faulty. Ex. 21. CDC’s National Institute

  for Occupational Safety & Health (“NIOSH”) found many masks made in China

  “authorized under the April 3, 2020, EUA did not meet the expected performance

  standards.” Id. An astounding 167 respirator mask brands from China had their

  EUAs revoked by FDA last month. Another 54 were previously revoked. Id. FDA

  revokes EUAs when “appropriate to protect the public health or safety.” Ex. 24.

  Surgical masks (typically light blue in color) made in China are also not authorized

  by FDA. Ex. 25.


                                            25
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 26 of 47 PageID 3136




     Although these 221 respirator mask brands (plus all surgical masks) manufac-

  tured in China may no longer be legally sold in the United States, there are likely

  tens of millions of these face coverings still being used by passengers due to the

  FTMM. My mother is among the numerous Americans who have worn surgical

  masks made in China because of the FTMM. Ex. 22. So not only are quality masks

  worthless in CDC’s goal of reducing transmission of COVID-19, but the vast ma-

  jority sold in the United States are actually defective, according to FDA. Ex. 23.

  “The ‘may be effective’ standard for EUAs provides for a lower level of evidence

  than the ‘effectiveness’ standard that FDA uses for product approvals.” Ex. 24.

  Even a well-informed consumer would find it nearly impossible to understand

  what types and brands of face masks have been authorized and which – if any –

  are regarded as safe to use for extended periods of time by NIOSH. The adminis-

  trative record shows no indication these issues were considered.

     When a mask manufacturer applies for an EUA, it must agree it may not “mis-

  represent the product or create an undue risk in light of the public health emer-

  gency. For example, the labeling must not include any express or implied claims

  for: … antimicrobial or antiviral protection or related uses, (3) infection preven-

  tion, infection reduction, or related uses, or (4) viral filtration efficiency.” Ex. 30.


  F. This Court has jurisdiction to adjudicate my claims against DHS and
  TSA because their orders were issued at the direction of CDC and are
  part of one unified federal policy (Counts 9 & 11-12).

     The government falsely claims the Court lacks jurisdiction over my claims



                                             26
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 27 of 47 PageID 3137




  against Defendants Department of Homeland Security (“DHS”) and its agency

  Transportation Security Administration (“TSA”). Doc. 125 at 17. First, it cites 49

  USC § 46110, but this provision contains no mention of DHS. Second, this statute

  vests the Court of Appeals with jurisdiction only for “an order” of the TSA admin-

  istrator “with respect to security duties…” (emphasis added). TSA’s part of the

  FTMM is not “an order” “with respect to security duties,” it’s enforcing a CDC

  health mandate. Therefore, the Court of Appeals’ exclusive jurisdiction does not

  apply. Third, because TSA’s FTMM comprises of three directives and one emer-

  gency amendment, not orders, the Court of Appeals’ statutory jurisdiction likewise

  doesn’t apply to this lawsuit. The cases cited by the government apply only to TSA

  security orders, not public-health enforcement directives, and thus are irrelevant

  here. Fourth, § 46110 does not apply to “order[s]” related to foreign air carriers.

  But one part of TSA’s FTMM, EA 1546-21-01A, targets foreign airlines. So at min-

  imum, this Court has jurisdiction to adjudicate EA 1546-21-01A.

     This appears to be a question of first impression nationwide because never be-

  fore has TSA attempted to enforce public-health rules. The Court should reject the

  government’s arguments regarding Court of Appeals exclusive jurisdiction be-

  cause, it in addition to being legally unsound, it would produce absurd results: 1)

  Any plaintiff seeking to challenge the FTMM would have to file suits both in a Dis-

  trict Court and a Court of Appeals. This is far from the goal of “judicial economy”

  this Court seeks. Doc. 67 at 6; and 2) If I succeed in winning vacatur of the FTMM

  only as applied to CDC, then TSA could possibly continue enforcing its own ultra


                                          27
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 28 of 47 PageID 3138




  vires mask mandate even though CDC no longer authorizes it. That would result

  in more litigation at the Court of Appeals, which could take a year or longer. This

  Court’s decision vacating the CDC part of the FTMM would have little effect if TSA

  is permitted to continue enforcing its mask directives and emergency amendment.

  The Court must not allow this illogical result.


  G. TSA failed to abide by APA’s notice-and-comment requirement
  (Count 9).

     The Federal Defendants claim that if TSA determines a regulation or security

  directive “must be issued immediately … to protect transportation security,” no-

  tice and comment are waived. Doc. 125 at 52 (emphasis added). Because the FTMM

  is not a security policy but a public-health policy, the mask mandate does not fall

  under this exemption. The approval of the Transportation Security Oversight

  Board has no effect on TSA’s duty to engage in notice and comment.


  H. TSA lacks statutory authority to enforce a mask mandate (Count 12).

     There are at least four reasons why TSA can’t enforce a mask mandate: 1) No

  statute authorizes TSA to enforce public-health rules; 2) Congress recognized this

  when the House passed a bill to permit TSA to implement a mask mandate, but it

  died in the Senate; 3) The chairman of the House Homeland Security Committee

  acknowledged TSA lacks authority to perform temperature checks of passengers,

  let alone require masks; and 4) TSA did not adhere to APA’s notice-and-comment

  requirement. Ex. 154. Defendant TSA’s position



                                           28
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 29 of 47 PageID 3139




        “raises the interpretive question whether ‘transportation security’ measures
        under sections 114(f) and (l) include measures aimed at preventing disease
        transmission. Under a narrower construction, ‘security’ – which is not stat-
        utorily defined – connotes the prevention of deliberate harms, such as ter-
        rorism or other intentional criminal acts. Some aspects of the larger statu-
        tory context could potentially support this narrower construction. Congress
        enacted the [Aviation and Transportation Security Act] in response to the
        September 11, 2001, terrorist attacks, establishing the TSA and giving it re-
        sponsibility for ‘security in all modes of transportation.’ Reflecting a coun-
        terterrorism focus, some of the TSA’s statutory authorities expressly refer-
        ence ‘terrorism’ or ‘criminal violence.’” Ex. 159.

     TSA is not entitled to Chevron deference because the statute is unambiguous:

  Congress has not assigned TSA the duty of enforcing public-health dictates. De-

  fendant Biden “can’t require masks on interstate buses and trains because only the

  U.S. Congress can regulate interstate commerce by law, not the president by di-

  rective.” Ex. 174. Also, 49 USC § 44902(a) only permits TSA to deny boarding to “a

  passenger who does not consent to a search” or “property of a passenger who does

  not consent to a search.” No denial of boarding is authorized for passengers not

  wearing masks. 49 USC § 44903 allows TSA to prevent “violence and piracy,” not

  a disease. It hard to imagine Congress had enforcing a mask mandate in mind

  when it gave TSA the authority to deploy “police at airport security checkpoints ‘to

  ensure passenger safety and national security.’” Doc. 125 at 50.

     TSA is tasked with items that only logically apply to protection from intentional

  attacks. The irony here, regardless of “safety” or “security” terminology, is that the

  FTMM has made flying much more dangerous due to the chaos in the skies

  over enforcing masks. Doc. 1 at ¶¶ 424-479; Declarations of flight attendants at

  Exs. 190, 209-210, & 215. Finally, the government admits more than “8,000 [TSA]



                                             29
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 30 of 47 PageID 3140




  screening employees have been [infected] with COVID-19…” Doc. 125 at 51. TSA

  employees are forced to wear face coverings. If masks are effective, why have so

  many TSA workers tested positive for coronavirus?


            II. ARGUMENT OPPOSING MOTIONS FOR SUMMARY
          JUDGMENT OR TO DISMISS COUNTS 3, 7-8, 11, 14-15, & 21

  A. The Court must not grant summary judgment for the Federal De-
  fendants on my arbitrary-and-capricious claims because there is a gen-
  uine dispute as to any material fact and they are not entitled to judg-
  ment as a matter of law (Counts 3, 11, & 21).

       The Federal Defendants’ actions in promulgating the FTMM and ITTR are not

  “rational,” “reasonably considered,” or “reasonably explained.” Doc. 125 at 41. In

  addition to lacking regulatory, statutory, and constitutional authority, they are ar-

  bitrary and capricious. Whether an agency decision is arbitrary and capricious is

  largely a fact-based and situation-specific question. Troy Corp. v. Browner, 120

  F.3d 277, 284 (D.C. Cir. 1997). Therefore summary judgment in favor of the gov-

  ernment is not appropriate here as there is a genuine dispute over material facts.

  Fed.R.Civ.P. 56. Although the 11th Circuit gives “an extreme degree of deference to

  the agency when it is evaluating scientific data,” a court may not ignore contrary

  evidence such as 115 scientific studies and medical articles 14 demonstrating that


  14 The Federal Defendants disparage the source of one article I submitted attached to the Com-
  plaint (Doc. 125 at 43, FN 17) but fail to acknowledge that the other 42 scientific studies and med-
  ical articles attached to Doc. 1 (322 pages total) come from numerous prestigious and well-re-
  spected publications including Annals of Family Medicine; Annals of Internal Medicine; Associa-
  tion of American Physicians & Surgeons; British Medical Journal; CDC Emerging Infectious Dis-
  eases; European Journal of Medical Research; Frontiers in Public Health; International Journal
  of Environmental Research & Public Health; Lancet Infectious Diseases; Medical News Today;
  National Academies of Sciences, Engineering, & Medicine; and University of New South Wales.
  The same is true with the additional 72 studies and articles I attach to this brief (Exs. 31-102).


                                                  30
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 31 of 47 PageID 3141




  masks are ineffective and harmful. Index at Ex. 103. An agency policy created due

  to politics and not reasoned scientific endeavor is arbitrary and capricious. Ex. 158,

  cf. Midwater Trawlers Coop. v. Dep’t of Commerce, 282 F.3d 710, 720 (9th Cir.

  2002). It’s frankly a lie (perpetrated by politics) for CDC to claim mask wearing “is

  one of the most effective strategies available for reducing COVID-19 transmission.”

  Doc. 125 at 41. The evidence shows otherwise. Ex. 103. COVID-19 cases surged last

  winter despite 40 states having a mask mandate and 85% of Americans surveyed

  saying they wore masks “all or most of the time.” Exs. 117 & 164. The U.S. experi-

  ence (huge coronavirus infections despite universal masking) has occurred in

  countries all over the globe including India. Ex. 118. Meanwhile Sweden, which

  eliminated its transport mask mandate in early July, is now down to almost zero

  COVID-19 deaths. Ex. 186. I have not moved for summary judgment on Counts 3,

  11, and 21 because the government and I greatly differ about the scientific facts

  regarding the efficacy of mask wearing and the harms of forced muzzling.

       When the government cites seven studies15 supporting mask wearing vs. the 115

  I’ve submitted detailing how masks are ineffective and harm our health (Ex. 103),

  the Court must favor the evidence that overwhelmingly discredits CDC’s political

  position it attempts to justify by science. See Exs. 8-9, 25, 27, 28-29, 119-120, 125,




  15I actually count 12 studies in the administrative record: 1) Doc. 114 at 16-20; 2) Id. at 21-40; 3)
  Id. at 44-48; 4) Id. at 49-52; 5) Id. at 53-70 & Doc. 115 at 1-13; 6) Doc. 115 at 14-17; 7) Id. at 18-24;
  8) Id. at 25-38; 19) Id. at 39-74 & Doc. 116 at 1-32; 10) Doc. 116 at 33-93; 11); Doc. 117 at 1-12; 12)
  Doc. 118 at 2-4. Nonetheless, 115 is still nearly 10 times more evidence than 12, showing the Court
  there is a genuine dispute over material facts that doesn’t warrant summary judgment at this time.


                                                     31
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 32 of 47 PageID 3142




  130-147, 148-153, 155-157, 177-178, 180, & 217.

     An agency decision is arbitrary and capricious if it “entirely failed to consider

  an important aspect of the problem, offered an explanation for its decision that

  runs counter to the evidence before the agency, or is so implausible that it could

  not be ascribed to a difference in view…” Motor Vehicle Manufacturers Ass’n v.

  State Farm Auto Mutual Ins. Co., 463 U.S. 29, 43 (1983). All three factors are in

  play here with the FTMM.

     Finally, the ITTR is arbitrary and capricious, inter alia, for violating the Equal

  Protection Clause because it applies to fully vaccinated Americans flying home but

  not illegal aliens (who are mostly unvaccinated) and others crossing the land bor-

  der from Mexico when the evidence shows these unauthorized immigrants are

  much more likely to be infected with COVID-19. The ITTR also has not “reduce[d]

  introduction and spread of these and future SARS-CoV-2 variants into the United

  States” as the government admits the delta variant is surging. “[W]hile courts must

  be deferential to the need to protect public health, courts must also be vigilant

  against abuses of public health powers.” Ex. 165.


  B. The Court must not grant summary judgment for the Federal De-
  fendants on my Fifth Amendment claim because they are not entitled
  to judgment as a matter of law (Count 7).

     The government argues that “there is no evidence in the record that Mr. Wall

  has actually attempted to take advantage of those [mask] exemption provisions”

  and that I “did not submit the exemption form in the time required by the airline



                                           32
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 33 of 47 PageID 3143




  … [and] did not provide the requisite documentation.” Doc. 125 at 63. This is a

  ludicrous argument. There is documentation in the record that I tried to get a mask

  exemption from Southwest Airlines. Doc. 1 at Ex. 204. It was denied because

  Southwest – like every other airline as illegally permitted by the FTMM – puts on-

  erous requirements on passengers seeking mask exemptions that are explicitly

  prohibited by federal regulations. Doc. 1 at ¶¶ 231-272. I pursued a medical exemp-

  tion in good faith but was illegally denied. Defendant TSA forbade me passage

  through its checkpoint June 2 solely because a private company (Southwest) acting

  illegally would not grant me a mask exemption. A complaint to Defendant DOT

  would be futile because DOT itself told the airlines it could violate the regulations.

  Id. at Ex. 208. I was given no opportunity to contest TSA’s decision, let alone in a

  timely manner that would have allowed me to make my flight. This is a classic vio-

  lation of the Due Process Clause and far from “fully satisfactory.”

     Delegating FTMM decisionmaking to private companies such as airlines and

  then telling them they may violate federal regulations in doing so is not seeking

  private enforcement of a federal order in “matters more or less of a technical na-

  ture.” Doc. 125 at 65. The FTMM removes the government completely from the

  mask-exemption process and hands that task entirely to private companies, at least

  in the aviation sector (in other sectors, it unconstitutionally commandeers state

  officials to enforce the mask mandate; see 10th Amendment discussion supra.)




                                           33
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 34 of 47 PageID 3144




  C. The Court must not grant summary judgment for the Federal De-
  fendants on my freedom-to-travel claim because they are not entitled
  to judgment as a matter of law (Count 8).

       The Federal Defendants contend “reasonable restrictions on the right to inter-

  state travel are permissible.” Doc. 125 at 59. But the FTMM is unreasonable as it

  imposes an impossible burden on tens of millions of travelers – having to wear a

  face covering that is medically dangerous and intolerable – for no public benefit

  (masks are not effective in reducing COVID-19 spread and actually harm human

  health; Ex. 103). I am not free to leave Florida by land (bus or train), air, or sea 16

  because the FTMM applies to all of these transit modes. I could only leave by driv-

  ing myself, but I don’t own a car.17 Using public transport is my only way of travel-

  ing interstate and internationally.18 “The original conception of the right to travel

  embodies it as a broadly-based freedom that encompasses all modes of transport.

  … abridgement of any mode of transportation undermines the constitutionally en-

  shrined travel right.” Ex. 169. Should this issue reach the 11th Circuit, it appears to

  be a question of first impression. This Court must declare the right to interstate




  16I am not aware of any ferry or other passenger-ship service from Florida to other states. And
  there is very little interstate ship service anywhere in the nation.
  17The Federal Defendants suggest that because I recently traveled by car to an aunt’s funeral in
  Tampa, I could drive elsewhere. They fail to note I rode in the car with my mother (who owns the
  vehicle) and that Tampa is only a 75-minute drive from The Villages, where she resides. They fail
  to explain how it would be reasonable to drive to a place such as Salt Lake City, Utah – which
  would be an estimated 34-hour one-way drive – or how I could drive a car across the Atlantic
  Ocean to visit my brother and his wife in Germany. Flying is absolutely a necessity for me.
  18The government falsely suggests that my right-to-travel claim is limited only to interstate travel.
  As one of my trips postponed because of the FTMM and ITTR is to Germany, this is a ridiculous
  statement. In fact, I have rebooked my flight to Germany for Sept. 12. Ex. 13.


                                                   34
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 35 of 47 PageID 3145




  travel includes one’s choice on the best or most reasonable mode to utilize. “Travel

  embodies a broadly based personal, political, and economic right that encom-

  passes all modes of transportation and movement. … The right to travel, inherent

  in intercourse among the states, is one of the implied and unenumerated rights

  reserved [under the Constitution] to the People.” Id., cf. Crandall v. Nevada, 73

  U.S. 35, 48-49 (1867).

     The Federal Defendants misrepresent Second Circuit precedent on the issue of

  having a constitutional right to a convenient mode of transport – especially when

  it comes to traveling across oceans to foreign nations:

        “To make one choose between flying to one's destination and exercising
        one's constitutional right appears to us, as to the Eighth Circuit, United
        States v. Kroll, 481 F.2d 884, 886 (8th Cir. 1973), in many situations a form
        of coercion, however subtle. Cf. Lefkowitz v. Turley, 414 U.S. 70, 79-82, 94
        S. Ct. 316, 38 L. Ed. 2d 274 (1973). While it may be argued there are often
        other forms of transportation available, it would work a considerable hard-
        ship on many air travelers to be forced to utilize an alternate form of trans-
        portation, assuming one exists at all.” United States v. Albarado, 495 F.2d
        799 (2nd Cir. 1974).

     The Eighth Circuit held in Kroll that “flying may be the only practical means of

  transportation;” when limited, it often deprives an individual of the right to travel.

  A District Court also addressed this issue recently:

        “The impact on a citizen who cannot use a commercial aircraft is profound.
        He is restricted in his practical ability to travel substantial distances within
        a short period of time, and the inability to fly to a significant extent defines
        the geographical area in which he may live his life. … An inability to travel
        by air also restricts one’s ability to associate more generally, and effectively
        limits educational, employment and professional opportunities.” Mohamed
        v. Holder, 2014 WL 243115, at *6 (E.D.Va. Jan. 22, 2014).

     Although “mere burdens on a person’s ability to travel from state to state are

  not necessarily a violation of their right to travel,” a complete ban on interstate and

                                              35
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 36 of 47 PageID 3146




  international travel because I medically can’t wear a mask is much more than a

  burden, minor restriction, or inconvenience – it is an unconstitutional prohibition.

     “The Supreme Court has consistently applied strict scrutiny to restrictions on

  the right to interstate travel.” Ex. 167. “Undoubtedly the right of locomotion, the

  right to remove from one place to another according to inclination, is an attribute

  of personal liberty, and the right, ordinarily, of free transit from or through the

  territory of any State is a right secured by the … Constitution.” Williams v. Fears,

  179 U.S. 270, 274 (1900).

     I am not “free to travel with a mask” because it would be detrimental to my

  health. Wall Decl. at Doc. 83-1 and medical records at Doc. 12, Exs. 1-6; see also

  115 mask studies indexed at Ex. 103. In addition, airlines and Defendant DOT have

  illegally made getting a mask exemption virtually impossible. Dec. 1 at ¶¶ 231-272

  and Ex. 208. “[C]ourts recognize the unique nature of flight as a necessarily acces-

  sible and protected mode of transportation under the travel right and federal law.

  … An individual’s liberty may be harmed by an act that causes or reasonably threat-

  ens a loss of physical locomotion or bodily control” such as forced masking. Ex.

  169 (emphasis added). The Supreme Court recently disdained pandemic re-

  strictions that violate constitutional rights. An American is “irreparably harmed by

  the loss of [constitutionally protected] rights ‘for even minimal periods of time’;

  the State has not shown that ‘public health would be imperiled’ by employing less

  restrictive measures.” Tandon v. Newson, No. 20A151 (April 9, 2021).

     I also have a statutory right to fly: “A citizen of the United States has a public


                                           36
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 37 of 47 PageID 3147




  right of transit through the navigable airspace.” 49 USC § 40103(a)(2). “The con-

  stitutional right to travel from one State to another, and necessarily to use the high-

  ways and other instrumentalities of interstate commerce in doing so, oc-

  cupies a position fundamental to the concept of our Federal Union. It is a right that

  has been firmly established and repeatedly recognized.” United States v. Guest,

  383 U.S. 745, 757 (1966) (emphasis added). Thus, the right to travel can’t be lim-

  ited to driving a vehicle on the highways, as the government argues.

     My constitutional right to freedom of movement can’t be restricted when there

  is no evidence that airplanes have contributed to the spread of COVID-19 and there

  are less restrictive systems already in place (the Do Not Board and Lookout data-

  bases; Doc. 1 at ¶¶ 354-365). Reducing coronavirus spread could be adequately ad-

  dressed by means which, when compared with the FTMM, are more discriminately

  tailored to the constitutional liberties of individuals.

        “The right to travel is a part of the ‘liberty’ of which the citizen cannot be
        deprived without due process of law under the Fifth Amendment. … Free-
        dom of movement is basic in our scheme of values. See Crandall v. Nevada,
        6 Wall. 35, 44; Williams v. Fears, 179 U. S. 270, 274; Edwards v. California,
        314 U.S. 160. … Since we start with an exercise by an American citizen of an
        activity included in constitutional protection, we will not readily infer that
        Congress gave the Secretary … unbridled discretion to grant or withhold it.”
        Kent v. Dulles, 357 U.S. 116 (1958).


  D. The Court has jurisdiction over my two claims against DOT. It must
  not grant summary judgment because there is a genuine dispute as to
  any material fact and the Federal Defendants are not entitled to judg-
  ment as a matter of law (Counts 14-15).

     The government misleadingly argues the Court lacks jurisdiction over my

  claims against Defendant DOT and my mandamus prayers for relief. Doc. 125 at


                                             37
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 38 of 47 PageID 3148




  16, 19-25, & 37-40. It also is not entitled to summary judgment because there is a

  genuine dispute over the material facts. It’s a bald-face lie to claim “DOT has issued

  an enforcement policy precisely to ensure protection under the [Air Carrier Access

  Act] for those who cannot wear a mask for legitimate reasons.” Id. at 19. DOT’s

  Notice of Enforcement Policy (“NEP”) (Ex. 1 at 208) violates the ACAA (49 USC §

  41705) and these regulations: 14 CFR §§ 382.19(a), 382.23(a), 382.23(c)(1),

  382.23(d), and 382.25. DOT admits it failed to enforce the ACAA from Spring 2020

  to February 2021. Ex. 1 at ¶ 243. Its own publications describe now the Feb. 5,

  2021, NEP contradicts the law. Doc. 1 at Exs. 209 & 210; ¶¶ 231-272.

     Jurisdiction is not limited to the Court of Appeals because 49 USC § 46110 only

  applies to “an order issued by the Secretary of Transportation…” DOT’s NEP is a

  “notice,” not an “order.” And it was issued by Blane Workie, assistant general coun-

  sel, not the secretary. I am not challenging one “order” of DOT. I am challenging

  its failure to perform its statutory duty of protecting airline passengers with disa-

  bilities from discrimination. “The Secretary shall investigate each complaint of a

  violation…” 49 USC § 41705(c)(1). I allege DOT is not doing this when it comes to

  mask complaints. And CDC has no authority to issue a mask order (which is not

  duly promulgated as a regulation) with provisions that violate sections of the Code

  of Federal Regulations. The government’s assertion CDC may ignore the CFR (Doc.

  125 at 37) is disingenuous and dangerous.

     To prove this claim, I require discovery to obtain all complaints filed with DOT




                                           38
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 39 of 47 PageID 3149




  during the pandemic (March 2020 to present) regarding passengers denied board-

  ing and/or harassed by airlines for not wearing masks as well as showing how the

  department resolved those complaints.19 DOT claims it’s enforcing the ACAA; I as-

  sert it’s not. This is based on my experience as well as that of other passengers.

  Declarations indexed at Ex. 187. This is a genuine dispute over material facts that

  prohibits summary judgment under Fed.R.Civ.P. 56.

       DOT’s nonenforcement of its own regulations regarding mask exemptions is

  part of a comprehensive package of Executive Branch orders, directives, amend-

  ments, and notices that make up the broad-sweeping FTMM. To force a litigant to

  file separate challenges to each part of the mask mandate in a District Court and a

  Court of Appeals runs against this Court’s desire for judicial economy and prevents

  this Court from resolving all claims concerning the same comprehensive govern-

  ment scheme. The government’s position would deprive this Court of its manda-

  mus jurisdiction: “The district courts shall have original jurisdiction of any action

  in the nature of mandamus to compel … any [U.S.] agency … to perform a duty

  owed to the plaintiff.” 28 USC § 1361. Here, the DOT secretary owes me (and all

  other disabled passengers similarly situated) a “clear nondiscretionary duty” to en-

  force the ACAA and its own regulations. I’m excused from having to “exhaust[] all

  other avenues of relief” because it would be futile. The Court shall not divest itself




  19I requested these documents Aug. 17 from DOT counsel Stephen Pezzi so we can avoid the need
  for formal discovery in this case. He is checking with DOT about providing the materials.


                                               39
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 40 of 47 PageID 3150




  of its jurisdiction under 28 USC § 1651(a): “[A]ll courts established by Act of Con-

  gress may issue all writs necessary or appropriate in aid of their respective juris-

  dictions and agreeable to the usages and principles of law.”

     The doctrine of exhaustion must be balanced with the interests of the individual

  “in retaining prompt access to a federal judicial forum…” McCarthy v. Madigan,

  503 U.S. 140, 146 (1992). There are equitable exceptions to the exhaustion rule

  including when “the challenge is to the adequacy of the agency procedure itself”

  and when the agency is biased or has predetermined the issue such that exhaustion

  would be futile. Id. I am not required to exhaust airlines’ exemption policies or

  ACAA’s administrative remedy of filing a complaint with DOT because it would be

  pointless – as I expect to prove during discovery and as dozens of passengers have

  already testified to. Index of Declarations at Ex. 187. At least one passenger has

  made nine complaints to DOT regarding airlines refusing to honor his doctor’s note

  that he is exempt from wearing a mask; none of them have resulted in DOT taking

  any action. Ex. 170. Excusal of the exhaustion requirement is proper “when resort

  to the administrative remedies would be futile or the remedy inadequate.” Counts

  v. Am. Gen. Life & Accident Ins. Co., 111 F.3d 105, 108 (11th Cir. 1997). DOT has

  also acted in bad faith by neglecting its statutory duty to protect the rights of disa-

  bled airline passengers, further excusing any exhaustion requirement. This Court

  must issue a writ of mandamus compelling DOT to the job Congress entrusted to

  it the department.




                                            40
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 41 of 47 PageID 3151




  III. ARGUMENT OPPOSING UMBRELLA ASSERTIONS IN THE GOV-
  ERNMENT’S MOTIONS FOR SUMMARY JUDGMENT & TO DISMISS

  A. Defendant Biden should not be dismissed because his unconstitu-
  tional executive order set in motion the FTMM and ITTR.

     The government untruthfully contends the Court lacks jurisdiction over my

  claims against Defendant Biden. Doc. 125 at 16 & 25. “Legal scholars overwhelm-

  ingly agree that despite his insistence to the contrary, Biden’s calls from the cam-

  paign trail for a mask mandate imposed by the federal government were unconsti-

  tutional.” Ex. 11. Defendant Biden himself acknowledged this but then acted in bad

  faith when signing the challenged executive order anyway. Exs. 1-13.

        “Two questions are always asked whenever an executive order is challenged:
        (1) where does the President get the authority to enact the order? (2) Does
        it violate any constitutional rights? … State and local governments have ‘po-
        lice powers’ to enact measures that will protect the general health and safety
        of the public. However, the federal government does not have such powers
        and the Constitution does not give the President the power to enact a mask
        mandate. Therefore, the White House must point to a law passed by Con-
        gress that gives the President such a power or the mask mandate will be
        unconstitutional.” Ex. 10.

     The government wrongly asserts that I haven’t alleged “that the President …

  engaged in any unlawful conduct.” Doc. 125 at 26. Biden’s E.O. 13998 for the

  FTMM and ITTR is illegal and unconstitutional, as I’ve argued throughout this

  case. Doc. 1 at 202, ¶¶ A & B. And although it’s true the president is not considered

  an “agency” under the APA, the judiciary has the power to declare executive orders

  unconstitutional and/or illegal and enjoin their enforcement. Youngstown Sheet

  & Tube v. Sawyer, 343 U.S. 579 (1952). “[I]t is settled law that the separation-of-

  powers doctrine does not bar every exercise of jurisdiction over the President of



                                             41
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 42 of 47 PageID 3152




  the United States.” Nixon v. Fitzgerald, 457 U.S. 731, 753–54 (1982). See also Clin-

  ton v. Jones, 520 U.S. 681, 703 (1997); Bond v. United States, 564 U.S. 211, 225–

  26 (2011); and Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S.

  477, 491 (2010). Notably Defendant Biden did not cite any constitutional or statu-

  tory authority for the FTMM and ITTR in E.O. 13988. Doc. 1 at Ex. 6. Federal court

  review of executive orders helps to define the scope of presidential powers and

  serves as a significant aspect of the checks and balances woven into the American

  constitutional system. E.O. 13998 contains no expiration date or sunset provision,

  and fails to provide any guidance as to when or under what conditions it will expire.

     Courts may strike down executive orders not only on the grounds that the pres-

  ident lacked authority to issue them but also in cases where the order is found to

  be unconstitutional in substance. And because Defendant Biden acted in bad faith,

  the Court must not just vacate his executive order but also shall employ the ex-

  traordinary remedy of enjoining him from again ordering any mask mandate or

  traveler testing requirement because he has shown a total disregard for both the

  Constitution and our laws. An injunction would not order Biden to “perform par-

  ticular … acts” but would prohibit him from again issuing ultra vires executive or-

  ders pertaining to masks, testing, and other pandemic restrictions.


  B. I have standing to contest both the ITTR and the FTMM.

     The government falsely claims the Court lacks jurisdiction over my ITTR claims

  (Doc. 125 at 16) and suggests I don’t even have standing on my FTMM claims (Id.



                                           42
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 43 of 47 PageID 3153




  at 27, FN 12). These arguments are absurd because there’s no dispute that I was

  denied the ability to fly by Defendant TSA on June 2 solely because I can’t wear a

  mask. Doc. 125 at 13-14. It’s also uncontested that I was not able to fly June 16, 18,

  20, 22, 24-25, and 30 as well as July 3, 10, and 15 because of the FTMM and (for

  the June 30 flight home from Germany) the ITTR. Doc. 1 at ¶¶ 4-10. Were it not

  for the FTMM and ITTR, I would have taken all these trips. These are concrete

  injuries that give me Article III standing to challenge both policies.

     Even if the government’s position were correct, it fails to acknowledge I re-

  scheduled (for a third time) my trip to Germany to see my brother and his wife for

  Sept. 12-22. Ex. 13. While booking my ticket, United warned me I will be subject to

  the ITTR and the FTMM (including that there are “no exceptions” to the mask rule

  but for eating and drinking as well as kids under two years old; disproving the gov-

  ernment’s allegations that I can follow administrative channels to obtain a mask

  exemption). Ex. 14. It’s critical this Court vacate these policies before Sept. 12.


  C. My Complaint is not an impermissible shotgun pleading.

     The Federal Defendants incorrectly assert that my “complaint is an impermis-

  sible ‘shotgun pleading…’” that makes it “nearly impossible for Defendants and the

  Court to determine with any certainty which factual allegations give rise to which

  claim.” Doc. 125 at 68. Just like with the two Local Defendants, this argument is

  bogus. Based on the extreme detail in their 88-page brief asking for dismissal of

  and summary judgment on the merits of all 16 pending charges against them, it’s



                                            43
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 44 of 47 PageID 3154




  obvious the Federal Defendants understand with certainty the facts of the case and

  how they are applied to each claim. They cite facts in the Complaint they contend

  are irrelevant, but all are actually on point regarding the arbitrary and capricious

  nature of agency action taken, inter alia, despite: A) numerous health problems

  caused by masks (e.g. the Oregon athlete collapsing while masked due to low oxy-

  gen levels); and B) chaos in the skies caused by airlines having to enforce mask

  mandates (e.g. families being treated rudely and thrown off planes because their

  autistic children can’t keep a mask on).

     The government whines about my Complaint being long as well as full of facts

  and exhibits supporting those facts, but there is no inability to comprehend what

  they have been charged with as evidenced by their thorough arguments in opposi-

  tion. The Federal Defendants themselves acknowledge “this case can (and should)

  be resolved” on the merits. Doc. 125 at 69.

     Lastly, they filed an administrative record totaling 633 pages. Does that make

  their motions the equivalent of a disallowed “shotgun pleading” simply because of

  the large volume of exhibits included? As painful as it was to read all those 633

  pages, I don’t think so. The same goes for my Complaint.


  D. My prayers for relief are not overbroad.

     The Federal Defendants complain my prayers for relief, if I prevail, would be

  overbroad because the judgments and orders I seek from the Court “would prevent

  enforcement of any of the challenged orders, in any context, against anyone…” Doc.



                                             44
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 45 of 47 PageID 3155




  125 at 69. But under the APA, when a Court determines government agencies have

  exceeded their regulatory, statutory, and/or constitutional authority; failed to

  abide by notice and comment; promulgated arbitrary and capricious policies; etc.,

  the proper remedy is to “hold unlawful and set aside” the ultra vires orders. 5 USC

  § 706. This means nationwide vacatur is the appropriate remedy. Alabama Ass’n

  of Realtors v. HHS (D.D.C. May 5, 2021). Because the ITTR applies abroad to all

  air carriers preventing them from boarding any passenger to the United States who

  fails to present a negative COVID-19 test, worldwide vacatur is the relief required.

        “[A] federal district judge has authority and subject matter jurisdiction to
        grant plaintiffs an injunction that bars the federal executive from imple-
        menting an unconstitutional or illegal federal government program any-
        where ...The federal courts keep the federal executive in constitutional line.
        In a system without the nationwide national government injunction, the
        federal executive could develop and implement policies and programs that
        avoid obeying the law.” Ex. 182.

     To set aside the ultra vires FTMM and ITTR only for myself would violate the

  Equal Protection Clause. An illegal, unconstitutional order may not be enforced by

  the government against any person. To declare that only Lucas Wall, one of the

  estimated 66 million Americans every day who use public transportation, is ex-

  empt from the unlawful orders would lead to an crazy result: the Federal Defend-

  ants being allowed to enforce the FTMM and ITTR against the other 65,999,999

  people who were not a plaintiff in this case. And if those 65,999,999 had to file

  their own lawsuits, it would completely overwhelm the federal judiciary to accom-

  plish the same result. As the Court can plainly see by the declarations of 33 other

  passengers and flight attendants (Index at Ex. 187) and all the news stories about



                                             45
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 46 of 47 PageID 3156




  others being banned from flying I’ve submitted into evidence, these policies have

  a negative impact on tens of millions of Americans every day. The government

  quotes only one Supreme Court justice objecting to a nationwide injunction as the

  proper remedy when the government acts unlawfully. But that’s not what the plain

  text of the APA states. “National government injunctions respond to … the federal

  executive’s practice of issuing executive orders and administrative regulations to

  make major unilateral policy changes that bypass the legislative process. Separa-

  tion of powers and judicial review together enable courts to prevent the executive’s

  improper and arbitrary exercise of power.” Ex. 182.

     If the Court holds unlawful and sets aside the FTMM and ITTR, a permanent

  injunction prohibiting their enforcement and any future orders by the Federal De-

  fendants to achieve the same political goals is absolutely necessary given the bad

  faith that Defendant Biden has engaged in multiple times, saying he knows the

  CDC orders are unconstitutional but putting them in place anyhow. Ex. 115. The

  Judicial Branch has a constitutional responsibility to a stop this power grab by the

  Executive Branch. Separation of powers demands it. Defendant CDC has already

  disrespected this Court by saying it will enforce its mask rule on cruiseships even

  though such restrictions were preliminary enjoined. State of Florida; Ex. 121. CDC

  Director Dr. Rochelle Walensky admitted were it not for political interference, her

  agency would be leaving it up to states and local health officials to set guidelines

  concerning maskwearing. The CDC has “always said that local policymakers need

  to make policies for their local environment,” she said. Ex. 126.


                                           46
Case 6:21-cv-00975-PGB-DCI Document 130 Filed 08/18/21 Page 47 of 47 PageID 3157




     Remand to the agencies is not an appropriate remedy as the Federal Defendants

  suggest (Doc. 125 at 70) because there is no way they could cure all the errors made

  in issuing these ultra vires orders. Remand without vacatur would allow the gov-

  ernment to continue enforcing unlawful policies. Finally, the Court should not buy

  the hysteria the government is selling that “even temporary (or partial) vacatur of

  these orders could have disruptive and dangerous consequences.” As I have

  demonstrated, the mask mandate and testing requirement are not based on sci-

  ence, but politics. Vacating these two orders would not be disruptive; it would

  simply restore the status quo to our public-transportation system that existed prior

  to January 2021. The government acknowledges that COVID-19 cases are again

  surging, illustrating how ineffective these policies are. It would be dangerous for

  the Court to leave the FTMM in place given the strong body of scientific evidence

  showing how harmful masks are to human health. Index at Ex. 103.


                                  IV. CONCLUSION

     WHEREFORE, I request this Court issue an order granting me summary judg-

  ment on Counts 1, 4−6, 9, 12, 19, & 22−23 (Doc. 127-1) and denying the Federal

  Defendant’s Cross-Motion for SJ and Motion to Dismiss (Doc. 125).

  Respectfully submitted this 18th day of August 2021.



  Lucas Wall, plaintiff
  435 10th St., NE
  Washington, DC 20002
  Telephone: 202-351-1735
  E-Mail: Lucas.Wall@yahoo.com

                                          47
